                 Case 3:20-cv-08190-EMC Document 1 Filed 11/20/20 Page 1 of 15




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 6

 7
                                UNITED STATES DISTRICT COURT
 8                        FOR THE NORTHERN DISTRICT OF CALIFORNIA
 9
     ANDREW PETTIS, individually, JOHN
10   WYSKIDA, individually, and on behalf of all
     others similarly situated,
                                                                NO.
11
                            Plaintiffs,
12                                                              CLASS ACTION COMPLAINT
            v.
13                                                                    JURY DEMAND
     HEALTH IQ INSURANCE SERVICES, INC., a
14   Delaware corporation,

15                          Defendant.

16
            Plaintiff Andrew Pettis ( “Pettis”) and Plaintiff John Wyskida (“Wyskida”) bring this
17
     Class Action Complaint and Demand for Jury Trial against Defendant Health IQ Insurance
18
     Services, Inc. (“Defendant” or “Health IQ”) to stop the Defendant from violating the Telephone
19
     Consumer Protection Act by making pre-recorded telemarketing calls, and by placing multiple
20
     calls to consumer phone numbers that are registered on the National Do Not Call registry
21
     (“DNC”). Plaintiff Pettis and Plaintiff Wyskida also seek injunctive and monetary relief for all
22
     persons injured by Defendant’s conduct. Plaintiffs Pettis and Wyskida, for this Complaint, allege
23
     as follows upon personal knowledge as to themselves and their own acts and experiences, and, as
24
     to all other matters, upon information and belief, including investigation conducted by their
25
     attorneys.
26

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                 Case 3:20-cv-08190-EMC Document 1 Filed 11/20/20 Page 2 of 15




 1                                               PARTIES
 2          1.       Plaintiff Andrew Pettis is a resident of Malad City, Idaho.
 3          2.       Plaintiff John Wyskida is a resident of Cortlandt Manor, New York.
 4          3.       Defendant Health IQ is a Delaware registered corporation headquartered in
 5 Mountain View, California. Defendant Health IQ conducts business throughout this District,

 6 California, and the U.S.

 7                                    JURISDICTION AND VENUE
 8          4.       This Court has federal question subject matter jurisdiction over this action under
 9 28 U.S.C. § 1331, as the action arises under the Telephone Consumer Protection Act, 47 U.S.C.

10 §227 (“TCPA”).

11          5.       This Court has personal jurisdiction over the Defendant and venue is proper in
12 this District under 28 U.S.C. § 1391(b) because Defendant has its head office in this District and

13 the wrongful conduct giving rise to this case was directed from this District to the Plaintiffs.

14                                           INTRODUCTION
15          6.       As the Supreme Court explained at the end of its term this year, “Americans
16 passionately disagree about many things. But they are largely united in their disdain for

17 robocalls. The Federal Government receives a staggering number of complaints about

18 robocalls—3.7 million complaints in 2019 alone. The States likewise field a constant barrage of

19 complaints. For nearly 30 years, the people’s representatives in Congress have been fighting

20 back.” Barr v. Am. Ass'n of Political Consultants, No. 19-631, 2020 U.S. LEXIS 3544, at *5

21 (U.S. July 6, 2020).

22          7.       The National Do Not Call Registry allows consumers to register their telephone
23 numbers and thereby indicate their desire not to receive telephone solicitations at those numbers.

24 See 47 C.F.R. § 64.1200(c)(2).

25

26

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                                      CLASS ACTION COMPLAINT
28                                              -2-
                   Case 3:20-cv-08190-EMC Document 1 Filed 11/20/20 Page 3 of 15




 1            8.       A listing on the Registry “must be honored indefinitely, or until the registration is
 2 cancelled by the consumer or the telephone number is removed by the database administrator.”

 3 Id.

 4            9.       When Congress enacted the TCPA in 1991, it found that telemarketers called
 5 more than 18 million Americans every day. 105 Stat. 2394 at § 2(3).

 6            10.      By 2003, due to more powerful autodialing technology, telemarketers were
 7 calling 104 million Americans every day. In re Rules and Regulations Implementing the TCPA

 8 of 1991, 18 FCC Rcd. 14014, ¶¶ 2, 8 (2003).

 9            11.      The problems Congress identified when it enacted the TCPA have only grown
10 exponentially in recent years.

11            12.      Industry data shows that the number of robocalls made each month increased
12 from 831 million in September 2015 to 4.7 billion in December 2018—a 466% increase in three

13 years.

14            13.      According to online robocall tracking service “YouMail,” 3.3 billion robocalls
15 were placed in June 2020 alone, at a rate of 111.2 million per day. www.robocallindex.com.

16            14.      The FCC also has received an increasing number of complaints about unwanted
17 calls, with 150,000 complaints in 2016, 185,000 complaints in 2017, and 232,000 complaints in

18 2018. FCC, Consumer Complaint Data Center, www.fcc.gov/consumer-help-center-data.

19            15.      “Robocalls and telemarketing calls are currently the number one source of
20 consumer complaints at the FCC.” Tom Wheeler, Cutting off Robocalls (July 22, 2016),

21 statement of FCC chairman. 1

22            16.      “The FTC receives more complains about unwanted calls than all other
23 complaints combined.” Staff of the Federal Trade Commission’s Bureau of Consumer

24

25

26

27   1
         https://www.fcc.gov/news-events/blog/2016/07/22/cutting-robocalls
                                     CLASS ACTION COMPLAINT
28                                                  -3-
              Case 3:20-cv-08190-EMC Document 1 Filed 11/20/20 Page 4 of 15




 1 Protection, In re Rules and Regulations Implementing the Telephone Consumer Protection Act of

 2 1991, Notice of Proposed Rulemaking, CG Docket No. 02-278, at 2 (2016). 2

 3                                        COMMON ALLEGATIONS
 4          17.     Health IQ sells insurance packages to consumers including Medicare, Life and
 5 Disability insurance.

 6          18.     As part of its business practice, Health IQ places solicitation calls to consumers to
 7 sell its insurance packages.

 8          19.     Pre-recorded solicitation telemarketing calls are being placed to consumers either
 9 by Health IQ directly, or by a third-party telemarketer on behalf of Health IQ.

10          20.     These calls are being placed without express written consent to consumers who
11 are registered on the DNC and who do not have an existing business relationship with Defendant.

12          21.     For example, in Plaintiff Pettis’ case, Defendant or a telemarketer working on its
13 behalf placed multiple solicitation calls to his number that is registered on the national do not call

14 registry without his consent.

15          22.     Plaintiff Wyskida received an unsolicited, pre-recorded solicitation call to his cell
16 phone number.

17          23.     In response to these calls, Plaintiffs Pettis and Wyskida file this lawsuit seeking
18 injunctive relief requiring the Defendant to cease from violating the Telephone Consumer

19 Protection Act, as well as an award of statutory damages to the members of the Classes and

20 costs.

21

22

23

24

25
     2
26   https://www.ftc.gov/system/files/documents/advocacy_documents/comment-staff-ftc-bureau-
   consumer-protection-federal-communications-commission-rules-
27 regulations/160616robocallscomment.pdf
                                   CLASS ACTION COMPLAINT
28                                               -4-
             Case 3:20-cv-08190-EMC Document 1 Filed 11/20/20 Page 5 of 15




     HEALTH IQ OR ITS THIRD-PARTY TELEMARKETERS PLACE UNSOLICITED
 1
   PRE-RECORDED SALES CALLS TO CONSUMERS, INCLUDING MULTIPLE CALLS
 2              TO PHONE NUMBERS REGISTERED ON THE DNC

 3          24.    The dialer systems that Health IQ use in their call centers include the option to

 4 place pre-recorded calls to consumers.

 5          25.    In the job posting for a Director, Call Center & Dialer Operations, Health IQ

 6 shows that it uses the outgoing automatic dialer: Five9 and Genesys:

 7

 8

 9

10
                                                                                    3
11

12          26.    Five9, referenced in the job posting above, provides the option to leave pre-
13 recorded voicemails if a consumer does not answer the call:

14

15

16

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18

19

20

21
                                                                                                   4
22

23

24

25

26   https://www.linkedin.com/jobs/view/director-call-center-dialer-operations-at-health-iq-
     3

   1928159333
27 https://www.five9.com/products/outbound-contact-center
   4

                                  CLASS ACTION COMPLAINT
28                                               -5-
               Case 3:20-cv-08190-EMC Document 1 Filed 11/20/20 Page 6 of 15




 1           27.    Relevant to Plaintiff Wyskida’s experience, Five9 gives call centers the ability to
 2 do a voice message broadcast, which plays a pre-recorded voice message when a call is

 3 answered:

 4

 5

 6

 7

 8

 9

10

11

12                                                                                           5

13
             28.    The aforementioned job posting also makes reference to Genesys, a call center
14
     software provider that is similar to Five9 that offers the ability to make pre-recorded calls. 6
15
             29.    As explained by the Federal Communications Commission (“FCC”) in its 2012
16
     order, the TCPA requires “prior express written consent for all autodialed or prerecorded
17
     [solicitation] calls to wireless numbers and residential lines.” In the Matter of Rules and
18
     Regulations Implementing the Telephone Consumer Protection Act of 1991, CG No. 02-278,
19
     FCC 12-21, 27 FCC Rcd. 1830 ¶ 2 (Feb. 15, 2012).
20
             30.    Yet in violation of this rule, Defendant or its third-party telemarketers fail to
21
     obtain any express written consent prior to placing pre-recorded solicitation calls to telephone
22
     numbers such as those of Plaintiff Wyskida.
23

24

25

26   5
         https://www.five9.com/connect/automatic-dialer
27   6
         https://www.genesys.com/capabilities/outbound
                                     CLASS ACTION COMPLAINT
28                                                  -6-
             Case 3:20-cv-08190-EMC Document 1 Filed 11/20/20 Page 7 of 15




 1         31.       To make matters worse, Defendant or its third-party telemarketers place multiple,
 2 unsolicited telemarketing calls to consumers who have their phone numbers registered on the

 3 DNC.

 4         32.       There are numerous complaints posted online regarding unsolicited calls,
 5 including pre-recorded calls that consumers have received from, or on behalf of Health IQ

 6 including:

 7

 8               •   “CID: HiQ Medicare, but they can't be calling Direct because it's a "ROBO"
                     Caller! This is a Verified "ROBO/SCAM/FRAUD" Caller, by 4 sources!
 9                   BEWARE!!!” 7

10               •   “Recording” 8
11               •   “I didn’t let her finish her sentence and hung up. will block.” 9 (consumer marked
                     the call as Robocall.)
12

13               •   “They said that it was Medicare insurance That i was looking for information
                     about rates not true” 10
14
                 •   “This number is harassing me. Calls several times in a row almost daily. Answer
15                   it and you will hear a voice that says ‘Hi, I’m XYZ on a recorded call and says I
                     signed up for a medicare plan, or similar. Sometimes just hangs up. I have
16                   blocked. Gets by block.” 11
17
                 •   “Unsolicited call” 12
18
                 •   “Said I signed up for a medical supplement on Medicare. I NEVER did that.
19                   Keeps using other numbers. Calls almost daily and multiple times a day.” 13
20               •   “Dropped call or no message” 14
21

22
     7
23      https://lookup.robokiller.com/p/800-927-8452
     8
       Id.
24   9
        https://www.telguarder.com/us/number/8009278452
     10
         https://findwhocallsyou.com/8009278452?CallerInfo
25   11
         https://www.shouldianswer.com/phone-number/8009278452
     12
26       Id.
     13
        Id.
     14
27       https://reverd.com/blog/1-855-913-0760
                                       CLASS ACTION COMPLAINT
28                                                  -7-
              Case 3:20-cv-08190-EMC Document 1 Filed 11/20/20 Page 8 of 15




 1                •   “unsolicited advertising” 15

 2          33.       In fact, NoMoRobo.com captured a call that a consumer received from Defendant
 3 using phone number 800-927-8452 that began with a pre-recorded message, similar to the call

 4 Plaintiff Wyskida received from 800-927-8452 16

 5          34.       Upset consumers have addressed unsolicited telemarketing calls they received
 6 directly to Health IQ through its BBB page. These complaints include:

 7

 8                •   “This. Company. Will. Not. Stop. Calling. Me. I have repeatedly asked to be
                      taken off the call list, and at this point, further contact is harassment. This.
 9                    Company. Will. Not. Stop. Calling. Me. I regret, from the day I expressed interest
                      on a FB post, ever having contacted this company. At first I spoke to a rep, then
10                    realized the products and services weren't for me. I got a callback a few months
                      later, presumably for purposes of retention. That doesn't bother me. But now I am
11
                      getting a call just about every week from these guys. I've asked half a dozen times
12                    to be taken off the contact list. I keep getting calls. This last time (this morning), I
                      finally broke down and told the phone rep that if I got ONE MORE CALL from
13                    them, I would contact the FTC and my state's Attorney General's office… But
                      honestly, I feel harassed.” 17
14
                  •   “I don't know how I got onto their ‘call list’, but I receive at least one call each
15
                      day soliciting me for life insurance. I've told them that I have plenty of insurance,
16                    don't need more and politely ask that I be taken off their list (put on "Do Not Call"
                      list). To no avail. This has continued for the last 6 months. Horrible company!” 18
17
                  •   “This company is boiler room telemarketing. They have called me every day, at
18                    least once if not twice a day, non stop texting, for six months! I have told them
                      repeatedly that I am not interested, please delete my contact information. No use.
19
                      They will not stop. Real companies do not operate this way. What makes them
20                    think that making people angry is a valid sales approach? You could not pay me
                      to be insured through Health IQ because of the way they have harrassed me.” 19
21
                  •   “They won't stop hounding you on the phone. For months and months. They call
22                    and call even when you ask them to take your number off from their list. They
23
     15
        Id.
24   16
        https://www.nomorobo.com/lookup/800-927-8452
     17
        https://www.bbb.org/us/ca/mountain-view/profile/life-insurance/health-iq-insurance-services-
25   inc-1216-642075/complaints
     18
26      https://www.bbb.org/us/ca/mountain-view/profile/life-insurance/health-iq-insurance-services-
     inc-1216-642075/customer-reviews
     19
27      Id.
                                    CLASS ACTION COMPLAINT
28                                                -8-
                 Case 3:20-cv-08190-EMC Document 1 Filed 11/20/20 Page 9 of 15




                          won't. They continue hounding and harassing you with unsolicited phone calls.
 1
                          Truly the biggest irritants on the planet.” 20
 2
                      •   “Before I explain what happened I want to be clear I've never heard of this
 3                        company and I did not request life insurance from anywhere. Over the last couple
                          months I've received spam phone calls from an agent from this company...” 21
 4

 5                                    PLAINTIFF PETTIS’S ALLEGATIONS

 6              35.       Plaintiff Pettis registered his phone number on the DNC on June 29, 2003.

 7              36.       Plaintiff Pettis’s phone number is not associated with a business and is used for

 8 personal use only.

 9              37.       On September 30, 2020, Plaintiff Pettis received a call to his phone from

10 Defendant Health IQ using phone number 855-913-0760.

11              38.       Plaintiff Pettis answered the call, but there was dead silence until the call abruptly

12 ended.

13              39.       Based on an investigation conducted by Plaintiff Pettis’ attorneys, when 855-913-

14 0760 is called, an automated system identifies the company as being Health IQ.

15              40.       On the following dates, Plaintiff Pettis received a series of calls to his phone from

16 Defendant Health IQ using phone number 503-683-8313:

17                    •   October 28, 2020 at 10:44 AM

18                    •   October 28, 2020 at 2:31 PM

19                    •   October 29, 2020 at 2:38 PM

20                    •   October 30, 2020 at 10:43 AM

21                    •   October 30, 2020 at 2:44 PM

22              41.       None of the above calls were answered.

23              42.       On November 2, 2020 at 11:21 AM, Plaintiff Pettis received another call from

24 Defendant Health IQ using phone number 503-683-8313 to his phone.

25

26   20
          Id.
     21
27        Id.
                                            CLASS ACTION COMPLAINT
28                                                    -9-
              Case 3:20-cv-08190-EMC Document 1 Filed 11/20/20 Page 10 of 15




 1          43.    Plaintiff Pettis answered the call and an agent identified the company as Health
 2 IQ.

 3          44.    The agent was calling to solicit Plaintiff Pettis with a quote for an insurance
 4 product.

 5          45.    Plaintiff Pettis told the agent that he was not interested and asked for his phone
 6 number to be removed from Health IQ’s calling list.

 7          46.    Based on an investigation conducted by Plaintiff Pettis’ attorneys, when 503-683-
 8 8313 is called, an automated system identifies the company as being Health IQ.

 9                           PLAINTIFF WYSKIDA’S ALLEGATIONS
10          47.    Plaintiff Wyskida registered his cell phone on the DNC on August 15, 2003.
11          48.    Plaintiff Wyskida’s phone number is not associated with a business and is used
12 for personal use only.

13          49.    On October 28, 2020, Plaintiff Wyskida received a pre-recorded call to his cell
14 phone from Defendant Health IQ using phone number 800-927-8452.

15          50.    When Plaintiff Wyskida answered the phone, there was a prerecorded message
16 playing before a live agent quickly came on the line a few seconds later.

17          51.    The agent identified the company name as Health IQ and said she was calling to
18 offer Plaintiff Wyskida a Medicare Plan B supplemental insurance quote.

19          52.    Plaintiff Wyskida told the agent to remove his phone number from Health IQ’s
20 calling list.

21          53.    Neither Plaintiff Wyskida or anyone in his immediate family are on Medicare or
22 Medicaid.

23          54.    Based on an investigation conducted by Plaintiff Wyskida’s attorneys, when 800-
24 927-8452 is called, an automated system identifies the company as being Health IQ.

25          55.    The unauthorized solicitation telephone calls that Plaintiff Pettis and Plaintiff
26 Wyskida received from or on behalf of Health IQ, as alleged herein, have harmed both Plaintiff’s

27
                                     CLASS ACTION COMPLAINT
28                                             -10-
             Case 3:20-cv-08190-EMC Document 1 Filed 11/20/20 Page 11 of 15




 1 in the form of annoyance, nuisance, and invasion of privacy, and disturbed the use and

 2 enjoyment of their cell phones, in addition to the wear and tear on the phones’ hardware

 3 (including the phones’ battery) and the consumption of memory on the phones.

 4          56.    Seeking redress for these injuries, Plaintiff Pettis and Plaintiff Wyskida, on behalf
 5 of themselves and Classes of similarly situated individuals, bring suit under the Telephone

 6 Consumer Protection Act, 47 U.S.C. § 227, et seq., which prohibits unsolicited pre-recorded

 7 telemarketing calls and telemarketing calls to telephone numbers that are registered on the DNC.

 8                                          CLASS ALLEGATIONS
 9          57.    Plaintiff Pettis and Plaintiff Wyskida bring this action pursuant to Federal Rules
10 of Civil Procedure 23(b)(2) and 23(b)(3) and seek certification of the following Classes:

11

12          Pre-recorded No Consent Class: All persons in the United States who from four years
            prior to the filing of this action through class certification (1) Defendant (or an agent
13          acting on behalf of Defendant) called (2) using a pre-recorded voice message, (3) for
            substantially the same reason Defendant called Plaintiff Wyskida, and (4) for whom the
14          Defendant claims it obtained the person’s number the same way it obtained Plaintiff
            Wyskida’s number.
15
            Do Not Call Registry Class: All persons in the United States who from four years prior
16          to the filing of this action through class certification (1) Defendant (or an agent acting on
            behalf of the Defendant) called more than one time, (2) within any 12-month period, (3)
17          where the person’s telephone number had been listed on the National Do Not Call
18          Registry for at least thirty days, (4) for substantially the same reason Defendant called
            Plaintiff Pettis, and (5) for whom the Defendant claims it obtained the person’s number
19          the same way it obtained Plaintiff Pettis’s number.

20

21          58.    The following individuals are excluded from the Classes: (1) any Judge or

22 Magistrate presiding over this action and members of their families; (2) Defendant, their

23 subsidiaries, parents, successors, predecessors, and any entity in which either Defendant or its

24 parents have a controlling interest and their current or former employees, officers and directors;

25 (3) Plaintiffs’ attorneys; (4) persons who properly execute and file a timely request for exclusion

26 from the Classes; (5) the legal representatives, successors or assigns of any such excluded

27
                                     CLASS ACTION COMPLAINT
28                                             -11-
             Case 3:20-cv-08190-EMC Document 1 Filed 11/20/20 Page 12 of 15




 1 persons; and (6) persons whose claims against Defendant have been fully and finally adjudicated

 2 and/or released. Plaintiff Pettis and Plaintiff Wyskida anticipate the need to amend the Class

 3 definitions following appropriate discovery.

 4          59.    Numerosity: On information and belief, there are hundreds, if not thousands of
 5 members of the Classes such that joinder of all members is impractical.

 6          60.    Commonality and Predominance: There are many questions of law and fact
 7 common to the claims of the Plaintiff’s and the Classes, and those questions predominate over

 8 any questions that may affect individual members of the Classes. Common questions for the

 9 Classes include, but are not necessarily limited to the following:

10          (a)    whether Defendant Health IQ or its agents placed pre-recorded voice message
11                 calls to Plaintiff Wyskida and members of the Pre-recorded Class without first
12                 obtaining consent to make the calls;
13          (b)    whether Defendant Health IQ or its agents systematically made multiple calls to
14                 Plaintiff Pettis and other consumers whose telephone numbers were registered
15                 with the DNC without first obtaining consent to make the calls;
16          (c)    whether Defendant Health IQ’s calls to Plaintiff Pettis, Plaintiff Wyskida and
17                 other consumers were made for telemarketing purposes;
18          (d)    whether Defendant’s conduct constitutes a violation of the TCPA;
19          (e)    whether members of the Classes are entitled to treble damages based on the
20                 willfulness of Defendant’s conduct.
21          61.    Adequate Representation: Plaintiffs Pettis and Wyskida will fairly and
22 adequately represent and protect the interests of the Classes, and have retained counsel

23 competent and experienced in class actions. Plaintiff Pettis and Plaintiff Wyskida have no

24 interests antagonistic to those of the Classes, and Defendant has no defenses unique to either

25 Plaintiff. Plaintiff Pettis, Plaintiff Wyskida and their counsel are committed to vigorously

26

27
                                     CLASS ACTION COMPLAINT
28                                             -12-
               Case 3:20-cv-08190-EMC Document 1 Filed 11/20/20 Page 13 of 15




 1 prosecuting this action on behalf of the members of the Classes, and have the financial resources

 2 to do so. Neither Plaintiff nor their counsel have any interest adverse to the Classes.

 3            62.   Appropriateness: This class action is also appropriate for certification because
 4 Defendant has acted or refused to act on grounds generally applicable to the Classes and as a

 5 whole, thereby requiring the Court’s imposition of uniform relief to ensure compatible standards

 6 of conduct toward the members of the Classes and making final class-wide injunctive relief

 7 appropriate. Defendant’s business practices apply to and affect the members of the Classes

 8 uniformly, and Plaintiffs’ challenge of those practices hinges on Defendant’s conduct with

 9 respect to the Classes as wholes, not on facts or law applicable only to Plaintiff Pettis and/or

10 Plaintiff Wyskida. Additionally, the damages suffered by individual members of the Classes will

11 likely be small relative to the burden and expense of individual prosecution of the complex

12 litigation necessitated by Defendant’s actions. Thus, it would be virtually impossible for the

13 members of the Classes to obtain effective relief from Defendant’s misconduct on an individual

14 basis. A class action provides the benefits of single adjudication, economies of scale, and

15 comprehensive supervision by a single court.

16
                                     FIRST CLAIM FOR RELIEF
17
                                  Telephone Consumer Protection Act
18                                    (Violation of 47 U.S.C. § 227)
                (On Behalf of Plaintiff Wyskida and the Pre-recorded No Consent Class)
19
              63.   Plaintiff Wyskida repeats and realleges the prior paragraphs of this Complaint and
20
     incorporates them by reference herein.
21
              64.   Defendant and/or its agents transmitted unwanted solicitation telephone calls to
22
     Plaintiff Wyskida and the other members of the Pre-recorded No Consent Class using a pre-
23
     recorded voice message.
24
              65.   These pre-recorded voice calls were made en masse without the prior express
25
     written consent of the Plaintiff Wyskida and the other members of the Pre-recorded No Consent
26
     Class.
27
                                     CLASS ACTION COMPLAINT
28                                             -13-
              Case 3:20-cv-08190-EMC Document 1 Filed 11/20/20 Page 14 of 15




 1          66.     Defendant has, therefore, violated 47 U.S.C. §§ 227(b)(1)(A)(iii), (b)(1)(B). As a
 2 result of Defendant’s conduct, Plaintiff Wyskida and the other members of the Pre-recorded No

 3 Consent Class are each entitled to a minimum of $500 in damages, and up to $1,500 in damages,

 4 for each violation.

 5

 6                                 SECOND CLAIM FOR RELIEF
                                 Telephone Consumer Protection Act
 7                                   (Violation of 47 U.S.C. § 227)
                      (On Behalf of Plaintiff Pettis and the Do Not Registry Class)
 8
            67.     Plaintiff Pettis repeats and realleges the prior paragraphs of this Complaint and
 9
     incorporates them by reference herein.
10
            68.     The TCPA’s implementing regulation, 47 C.F.R. § 64.1200(c), provides that “[n]o
11
     person or entity shall initiate any telephone solicitation” to “[a] residential telephone subscriber
12
     who has registered his or her telephone number on the national do-not-call registry of persons
13
     who do not wish to receive telephone solicitations that is maintained by the federal government.”
14
            69.     Any “person who has received more than one telephone call within any 12-month
15
     period by or on behalf of the same entity in violation of the regulations prescribed under this
16
     subsection may” may bring a private action based on a violation of said regulations, which were
17
     promulgated to protect telephone subscribers’ privacy rights to avoid receiving telephone
18
     solicitations to which they object. 47 U.S.C. § 227(c).
19
            70.     Defendant violated 47 C.F.R. § 64.1200(c) by initiating, or causing to be initiated,
20
     telephone solicitations to telephone subscribers such as Plaintiff Pettis and the Do Not Call
21
     Registry Class members who registered their respective telephone numbers on the National Do
22
     Not Call Registry, a listing of persons who do not wish to receive telephone solicitations that is
23
     maintained by the federal government.
24
            71.     Defendant violated 47 U.S.C. § 227(c)(5) because Plaintiff Pettis and the Do Not
25
     Call Registry Class received more than one telephone call in a 12-month period made by or on
26
     behalf of the Defendant in violation of 47 C.F.R. § 64.1200, as described above.
27
                                      CLASS ACTION COMPLAINT
28                                              -14-
             Case 3:20-cv-08190-EMC Document 1 Filed 11/20/20 Page 15 of 15




 1          72.    As a result of Defendant’s conduct as alleged herein, Plaintiff Pettis and the Do
 2 Not Call Registry Class suffered actual damages and, under section 47 U.S.C. § 227(c), are

 3 entitled, inter alia, to receive up to $500 in damages for such violations of 47 C.F.R. § 64.1200.

 4          73.    To the extent Defendant’s misconduct is determined to be willful and knowing,
 5 the Court should, pursuant to 47 U.S.C. § 227(c)(5), treble the amount of statutory damages

 6 recoverable by the members of the Do Not Call Registry Class.

 7                                           PRAYER FOR RELIEF
 8          WHEREFORE, Plaintiff Pettis and Plaintiff Wyskida, individually and on behalf of the
 9 Classes, pray for the following relief:

10          74.    An order certifying this case as a class action on behalf of the Classes as defined
11 above; appointing Plaintiffs Pettis and Wyskida as the representatives of the Classes; and

12 appointing their attorneys as Class Counsel;

13          75.    An award of actual and/or statutory damages and costs;
14          76.    An order declaring that Defendant’s actions, as set out above, violate the TCPA;
15          77.    An injunction requiring Defendant to cease all unsolicited calling activity, and to
16 otherwise protect the interests of the Classes; and

17          78.    Such further and other relief as the Court deems just and proper.
18                                             JURY DEMAND
            Plaintiffs Pettis and Wyskida request a jury trial.
19

20                                                Respectfully Submitted,

21 Dated: November 20, 2020                       By: /s/ Rachel E. Kaufman
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                                     CLASS ACTION COMPLAINT
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